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Attorney for Plaintiff

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

T.S. a minor, by and through Case No.
his Guardian Ad Litem,
THOMAS SCHNEIDER, Complaint for Partial

Reversal of Due Process

Plaintiff, Decision and For Payment
Of Reasonable Attorneys
Vv. Fees and Costs and

Request for Supplemental
Jurisdiction Over State
Breach of Contract Claim

LONG BEACH UNIFIED SCHOOL
DISTRICT, A Local
Educational Agency,

Respondent.

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Plaintiff presents his Complaint as follows:
JURISDICTION AND VENUE

1. Plaintiff’s action arises under 28 U.S.C. § 1331
and 20 U.S.C. § 1415(i) (3).

2. Venue is proper in the Central District of
California pursuant to 28 U.S.C. § 1391(b) because the
Plaintiff and Long Beach Unified School District
(“District”) are located within this district and the
claims arose within this district.

3. A due process hearing has been held by OAH

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pursuant to the Individuals with Disabilities Education

Act or “IDEA”, Student v. Long Beach Unified School

District, Case No. 2021030090; that a Decision was
issued by OAH on December 7, 2021. A copy of that OAH
Decision is attached hereto as Exhibit 1.

4. Plaintiff also seeks the Court’s exercise of
supplemental jurisdiction over a State law claim of
breach of contract of a settlement agreement reached by
the parties in August 2019. That agreement provided for
the funding by Defendant of an independent educational
evaluation or IEE in occupational therapy. Despite the
many requests by Plaintiff for that evaluation, Defendant
failed to ever provide it. In the first Complaint filed
with this Court, Plaintiff seeks to reverse an OAH
Decision finding that Defendant had not failed to assess
T.S. in an area of suspected disability... occupational
therapy. In the OAH Decision, the administrative law
judge (“ALJ”) found that the parents’ signed agreement to
such an evaluation was not sufficient to trigger
Defendant’s duty to assess in a suspected area of
disability.

5S. In the second OAH Decision, the case underlying
this appeal, the administrative law judge found that the
parents’ email request for an independent evaluation in
occupational therapy was not outside of a settlement
agreement. Thus, the ALJ found, there was no request by
the parents for that independent evaluation. In fact,

there had been no mediation at in that matter - no

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confidential settlement discussions at all.
6. Plaintiff now asks, in addressing both of the
claims/issues regarding the occupational therapy
7. This complaint is timely filed within ninety
(90) days of the issuance of the OAH Decision pursuant to
C.E.C. § 56505(k).
THE PARTIES

8. T.S. is an fourteen-year-old student with a
disability who, at all times relevant to this complaint,
has been a student residing in the attendance area of the
Long Beach Unified School District (“District”). 1T.S. is
eligible for special education as a student with autism
and other disabilities and has been eligible under IDEA
and State law for special education his entire school
career.

9. THOMAS SCHNEIDER is the father of T.S. and, at
all times relevant to this complaint, has, along with
T.S.’s mother, been the individuals responsible for T.S.

10. Defendant LONG BEACH UNIFIED SCHOOL DISTRICT
(“District”) is, and at all times herein mentioned was a
school district duly organized and existing under the
laws of the State of California as a Local Educational
Agency (LEA). At all times relevant to this matter, the
District has had the sole responsibility as a local
educational agency or “LEA” and T.S.’s District of
Residence or “DOR,” to provide appropriate education to
T.S. as required by IDEA, i.e., the Individuals with

Disabilities Education Act, with State law.

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COMPLAINT

11. T.S. is a minor with multiple disabilities, his
primary being autism. In addition, T.S. has disabilities
and needs in behavior, academics, Speech/Language, social
skills, occupational therapy, and related areas.

LZ. Several evaluations have identified T.S.’s
cognitive abilities as average. At the underlying due
process hearing, after Plaintiff’s experts explained that
T.S.’s full-scale cognitive ability or IQ was not
appropriate to use as his ability or potential as it
measured T.S.’s deficits in language. A more appropriate
score, they testified, would be his non-verbal cognitive
scores, which were in the average range. When District
brought in its own expert, a licensed psychologist, that
expert agreed that T.S.’s non-verbal cognitive score
was the appropriate measure of his potential and ability.

13. 7T.S.’s academic and related skills, however,
were and are far below average - not at the level they
should be for a student in his grade and with his at-
least average ability. After his years of specialized
instruction to address his unique educational needs, T.S.
should have made some progress in reading and related
academic areas. In an independent evaluation, Dr.
Helena Johnson had reported, in 2019, that T.S. had
regressed in all academic areas.

14. 7.S.’s parents filed a due process complaint
pursuant to IDEA. That complaint, filed with the Office

of Administrative Hearings as Case No. 2020090441, was

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heard on five days in March 2021. A Decision was issued
on May 6, 2021, and T.S. partially prevailed on one
issue. That matter has been appealed to this Court as
T.S. v. Long Beach Unified School District, Case No CV
21-0627 ODW DFM.

15. In a second due process complaint, T.S.’s parents
raised additional, and distinct issues under IDEA:

1) Did Long Beach fail to timely fund an
independent educational evaluation, or file
a request for due process hearing to prove
the legal sufficiency of its own assessment,
after August 19, 2019, when Parent requested
an independent educational evaluation in the
area of occupational therapy, including
sensory processing?

2) Did Long Beach deny Student a free appropriate
public education, called FAPE, within the last
two years, by failing to review reports from
Pride Learning Center?

3) Did Long Beach deny Student a FAPE within the
last two years, by failing to provide an
appropriately ambitious reading program?

4) Did Long Beach deny Student a FAPE, beginning
February 2020, by failing to obtain a second
vision therapy evaluation by Dr. Erik Ikeda?

5) Did Long Beach deny Student a FAPE within the
last two years, by failing to provide

educational records when requested by Parent?

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6) Did Long Beach deny Student a FAPE, by
failing to provide services during the 2020
extended school year?

16. The hearing was held over seven days, and a
Decision was issued on December 7, 2021. In his
Decision, the administrative law judge (“ALJ”) found that
the District had denied T.S. an appropriately ambitious
reading program. For the remaining issues, which the ALJ
had re-worded, the ALJ found for the District.

17. The ALJ failed to consider simple facts that
were established at hearing and ignored basic law in
making his findings and Decision:

a) The parents had timely and in writing requested

an independent educational evaluation of T.S.

in occupational therapy and sensory integration.
That request was made outside of any mediation
or settlement discussions - which were never
ever held - and was communicated to District’s
in-house counsel. As a direct result, District
had a duty to comply with Federal law. The

ALJ simply ignored both the facts and the law
in his determination regarding this issue.

b) Although the District had paid for reading

services with PRIDE for T.S. as part of a
prior settlement, the report of T.S.’s
“progress” in that program was never
discussed at any IEP team meeting. Although
a District employee stated that she thought

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that PRIDE had been discussed at an IEP
meeting, she could not identify at which
meeting she believed that had happened.
Further, no IEP notes reflected that any
such discussion had ever occurred, and no
PRIDE service provider was ever included
in any IEP meeting for T.S.

c) As part of the first due process hearing,
T.S. had established that Dr. Ikeda told
the February 2020 IEP team that he had to
conduct more testing to determine how much
vision therapy T.S. required.’ At this hearing,
Dr. Ikeda explained that he had not been fully
paid by the District and required an additional
contract from them for T.S. He testified
that, at the time of his February 2020 report,
he knew that T.S. had glasses because he had
given him glasses weeks before that report.
Further, T.S.’s father testified that he had
attempted to schedule a follow-up appointment
with Dr. Ikeda’s office but was told no
appointment would be scheduled until District

had paid Dr. Ikeda. The agreed-upon follow-up

"In the February 2020 IEP meeting, after presenting
his independent evaluation in vision therapy, Dr. Ikeda
was asked by T.S.’s father whether T.S. required vision
therapy. The District wrote Dr. Ikeda’s response into
the February 2020 IEP, “...it would be recommended with
further testing on the need for the length and duration.”
That further testing was never provided, through no fault
of the parents.

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assessment was never completed.

At hearing, the District’s own employees
testified about summer school attendance and
work records, about a District reading program
and related testing of T.S. for that program.
District employees testified about the
existence of such records, but those records,
along with actual summer school attendance
records for 2020, along with reports of progress
on goals and other summer school records (all
of which are educational records) were never
provided to T.S.’s parents. The ALJ’s finding
and determination contradicted the testimony
at hearing and the parents rights under IDEA.
The parents made multiple requests for
educational records, including records of pre-
and post assessments of T.S. for any District-
provided reading programs, records related to
summer school attendance, registration,
services, and classwork for 2020, and related
educational records. While a few educational
records were provided, many simply were never
given to the parents or T.S.’s counsel, despite
the District’s duty to provide those pursuant
to C.E.C. § 56504. There is no discovery in
California OAH due process hearings (See MC v.
Antelope Valley Unified School District, 852
F.3d 840, 851 (9 Cir. 2017), Without the very

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records to which they were legally entitled,

2 T.S.’s parents lacked documentation to support

3 their claims.

4 18. The administrative law judge (“ALJ”), overlooking
5] the facts - including District’s own educational records
6] and staff testimony - failed to consider the evidence and
7, 1gnored well-settled Federal and State law regarding the
8] production of educational records under Section 56504.

9 19. Finally, for the one issue the ALJ decided for

10] Plaintiff, the ALJ ordered reimbursement to 7T.S.’s

11] parents. The ALJ did not order full reimbursement of
12] the parents’ costs for the Davidson Learning Center or
13] “DLC,” but, instead, awarded the amount he believed was
14} the appropriate for T.S.’s reading services there. In
15] fact, the reading services were not available to T.S.

16} without his enrollment and attendance at DLC, where, it
17] was established, he finally made progress in reading.

18 20. The remedy that the ALJ awarded to the parents

19] for the costs of DLC was insufficient and inappropriate
20] and failed to consider what the parents had had to pay
21} to obtain appropriate reading services for T.S. The

22} result of the ALJ’s ordered reimbursement to the parents
23/of some of their costs for DLC was an incomplete remedy:
24} the parents obtained appropriate reading services, but
25] the partial reimbursement for DLC meant that those

26|| services were not “free.”

27 21. As was established at hearing, Plaintiff T.S. was
28|} denied substantial procedural rights under IDEA, and the

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District’s procedural denials resulted in multiple
denials of FAPE for T.S. Even today, T.S. continues to
lag behind his grade-level peers, despite his clear
ability to make appropriate educational progress.

FIRST CAUSE OF ACTION

For Partial Reversal of OAH’s December 7, 2021 Decision.

Doll x Plaintiff incorporates by reference each and
every allegation of Paragraphs 1 through 21 of the
Complaint as though fully set forth herein.

23. As established by the documentary evidence and
testimony at hearing, the District failed to provide both
procedural and substantive FAPE to T.S. during the period
at issue. The failure of the ALJ to find for Plaintiff
on most of the issues, including his failure to note the
facts established and to apply basic IDEA and State law,
meant that much of his Decision was neither thorough nor
careful and should be overturned in favor of Plaintiff.

SECOND CAUSE OF ACTION

For Award of Reasonable Attorney’s Fees and Costs.

24. Plaintiff incorporates by reference each and
every allegation of Paragraphs 1 through 23 of the
Complaint as though fully set forth herein.

25. Plaintiff prevailed on one vital issue he raised
at hearing - whether he had been provided with an
appropriately ambitious reading program. That issue
established that T.S. had been denied a FAPE by
District’s failure to address the most basic educational

skill - reading. For that issue, and for any other issue

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reversed by the Court, Plaintiff will file a motion for
reasonable attorney’s fees based upon his status as a

prevailing party.

THIRD CAUSE OF ACTION

For Exercise of Supplementary Jurisdiction Over
Plaintiff’s Caus of Action Breach of Contract.

26. Plaintiff incorporates by reference each and
every allegation of Paragraphs 1 through 25 of the
Complaint as though fully set forth herein.

27. Plaintiff’s parents and Defendant District had
entered into an agreement that provided for T.S. to
receive an independent educational evaluation (“IEE”).

An IEE is an independent assessment of a student in an
area of suspected disability that may impede or impact
his education. With an IEE, the parent selects someone
qualified to conduct the assessment/evaluation, and the
parent, not the local educational agency (“LEA”), chooses
the assessor. The assessor must have qualifications to
conduct the IEE, but other than that, any qualified or
properly licensed professional may be used by the parent.
34 C.F.R. § 300.102.

28. Despite the written agreement for an IEE, the
District failed to take any action to implement its
written agreement with the parent. T.S. never received
the necessary assessment (in occupational therapy and
SIPT) that the parties had agreed he should receive under
IDEA and related regulations. Instead, the District

simply turned a blind eye to T.S. and his unique

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educational needs.

29. Defendant District has failed to provide the
agreed-upon IEE or assessment in occupational therapy,
denying Plaintiff and his parents necessary information
about this suspected area of need. Without a formal
assessment of T.S. in occupational therapy, the parents,
and the IEP team, lack vital information for the planning
and identification of services for T.S.’s IEP.

30. The parents are left without any avenue to
enforce their written agreement with the District for
the IEE in occupational therapy and now seek a finding
that the District is in breach of the written agreement
to provide T.S. with an IEE in occupational therapy and
to address, if so identified, any services T.S. was
denied in 2019, 2020, and 2021.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff requests relief as follows:
1. The Court find the portion of the OAH
Decision in Case No. 2021030090 that was
not in Plaintiff T.S.’s favor to have been
neither thorough nor careful and that
it failed to address the facts established
at hearing as well as the law;
2. The Court find that Plaintiff should have
prevailed on all his issues at hearing
and that reversal of the OAH Decision is
appropriate;

3. The Court Order full payment of the parents’

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costs of DLC as appropriate compensatory
education for T.S.;

The Court Order the District to pay Dr. Ikeda
any sums due him for T.S.’s assessments and
provide T.S. with an independent educational
evaluation in the area of vision therapy;

The Court Order the District to train its
staff to comply with C.E.C. § 56504 and IDEA
regarding the provision of educational records
and with 34 C.F.R. § 300.502(c) (1) and IDEA
regarding the consideration of any independent
evaluation for the determination of FAPE;

The Court exercise supplementary jurisdiction
over the settlement agreement of August 2019
between the parties and find that the District
has breached its written agreement with T.S.’s
parents in 2019 to provide an independent
educational evaluation in occupational therapy
and that the District be ordered to provide
both that evaluation and compensatory education
in that area as will be proven at trial;

The Court Order payment of reasonable fees
and costs to Plaintiff’s counsel for her
representation of Plaintiff at hearing and

in this matter;

The Court Order such additional relief

as the Court determines to be appropriate.

Dated: March 4, 2022 By: /s/ Tania L. Whiteleather

TANIA L. WHITELEATHER
Attorney for Plaintiff

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